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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION


UNITED STATES OF AMERICA                            CASE NO. 6:23-CR-00142-02

VERSUS                                              JUDGE ROBERT R. SUMMERHAYS

CODY LAJOHN WILLIAMS (02)                           MAGISTRATE JUDGE DAVID J. AYO

                                  MINUTES OF COURT:
                             Initial Appearance \ Arraignment
 Date:               6/27/2023       Presiding: Magistrate Judge David J. Ayo
 Court Opened:       3:02 PM         Courtroom Deputy:        Christina Chicola
 Court Adjourned:    3:15 PM         Court Reporter:          Zoom Recording
 Statistical Time:   00:13           Courtroom:               Zoom Recording
                                     Probation Officer:       Michael Christy

                                    APPEARANCES
 LaDonte A Murphy (AUSA)                  For   United States of America
 Gerald Block (CJA)                       For   Cody Lajohn Williams (02),
                                                Defendant
 Cody Lajohn Williams (02), Defendant

                                       PROCEEDINGS
ORDER:
These proceedings were conducted via Zoom Video Conference with the consent of all parties
and pursuant to Federal Rules of Criminal Procedure 5(g) and 10(c).

 Defendant knowingly and voluntarily waived his right to be present for the Initial Appearance
and Arraignment. The Court finds that the use of video conference to conduct this proceeding is
warranted because this proceeding cannot be further delayed without serious harm to the
interests of justice.

BEFORE COURT OPENED:
Defendant Provided with Charging Document(s)
Pretrial Services Report Provided to Defendant

INITIAL APPEARANCE ON: Indictment
Defendant Sworn
Defendant Advised of Charges, Maximum Penalties & Rights
Detention Hearing: Waived
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ORDER:
Pursuant to FRCrP 5(F), the government was ordered to produce all exculpatory evidence to the
defendant pursuant to Brady v. Maryland and advised of possible consequences for failure to
comply.

ARRAIGNMENT ON: Indictment
Waiver of formal reading of indictment.
Plea Entered: Not Guilty To Count(s) 1-4
Arraignment Held

MOTIONS:
Oral motion for appointed counsel by defendant.

ORDER:
Based on the information provided orally on the record, the court finds that defendant does not
have the financial resources to retain counsel. The motion for appointment of counsel is granted
and the Office of the Federal Public Defender is hereby appointed to represent defendant or to
recommend counsel to represent defendant in all further proceedings. The defendant is to file a
formal motion and financial affidavit in the record as soon as possible.

ORDER:
The government’s oral Motion to Unseal the indictment is GRANTED.

RELEASE:
Defendant is not contesting the government’s Oral Motion for Detention at this time and reserves
his right to a detention hearing should his circumstances change.

Defendant in Custody

Defendant is remanded to the custody of the U.S. Marshal Service pending trial.

FILINGS:
Due Process Protection Order
Order of Detention
